                         UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                              SOUTHERN DIVISION


LEONARD W. HOUSTON, a/k/a                 )
Houston, Leonard William                  )
                    Plaintiff,            )
                                          )
v.                                        )       JUDGMENT
                                          )       7:22-CV-174-FL
UNITED STATES OF AMERICA                  )
                Defendant.                )

Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge, for
consideration upon plaintiff’s responses to the court’s December 29, 2022 order.

IT IS ORDERED, ADJUDGED AND DECREED in accordance with the court’s order entered
January 20, 2023 and for the reasons set forth more specifically therein, that this action is
DISMISSED.

This Judgment Filed and Entered on January 20, 2023, and Copies To:
Leonard W. Houston (via US mail) 148 Deer Court Drive, Bldg 4, Middletown, NY 10940-6867

January 20, 2023                   PETER A. MOORE, JR., CLERK

                                     /s/ Sandra K. Collins
                                   (By) Sandra K. Collins, Deputy Clerk




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